Case 2:04-cr-20371-SH|\/| Document 55 Filed 05/18/05 Page 1 of 2 Page|D 65

 

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UNlTED STATES OF AMERICA,

VS. NO. 04-20371-Ol-Ma

TERRANCE DAVIS,

Defendant.

 

ORDER GRANTING MOTION TO WAIVE APPEARANCE AT REPORT DATE

On April 21, 2005, counsel for defendant Terrance Davis filed a motion to waive the

appearance of the defendant at the report date scheduled on April 21, 2005. For good cause

shown, the motion is granted and the defendant may Waive his personal appearance

ir ls so oRDERED this l gnday OfMay, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 55 in
case 2:04-CR-20371 Was distributed by faX, mail, or direct printing on
May 19, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

